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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT


      UNITED STATES OF AMERICA,

                Plaintiff,
                                                                         No. 3:19cr173 (MPS)
                v.

      LEE FERGUSON

                Defendant.


                     RULING ON MOTION FOR COMPASSIONATE RELEASE

           Defendant Lee Ferguson, who is serving a sentence of imprisonment at FCI Schuylkill in

Pennsylvania, filed a motion under the First Step Act of 2018 for a reduction in his term of

imprisonment due to the dangers posed by the virus that causes COVID-19. ECF No. 50; Pub. L.

115-391, 132 Stat. 5194 (2018) (amending 18 U.S.C. § 3582(c)(1)(A)(i)). The Government has

filed a memorandum in opposition. ECF No. 54. I have carefully considered all these materials

and Ferguson’s medical and other records submitted along with his memorandum. ECF Nos. 50-

1, 52. For the reasons that follow, Ferguson’s motion is denied.

           On July 1, 2019, the Government filed an Information charging Ferguson with one

count of money laundering in violation of 18 U.S.C. § 1956(a)(1)(A)(i). ECF No. 1 at 1. On July

31, 2019, Ferguson pled guilty to the charge contained in the Information. Id. On January 27,

2020, I sentenced him to 20 months of imprisonment, followed by one year of supervised

release. ECF 45. Ferguson has been in continuous custody since his self-surrender on July 28,

2020. ECF No. 49 at 1. The Bureau of Prisons (“BOP”) projects his release date to be December

27, 2021.1


1
    Federal Bureau of Prisons, Find an Inmate, https://www.bop.gov/inmateloc (last visited March 23, 2021).
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       Section 3582(c)(1)(A) authorizes courts to modify terms of imprisonment as follows:

       [T]he court . . . upon motion of the defendant after the defendant has fully exhausted all
       administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the
       defendant's behalf or the lapse of 30 days from the receipt of such a request by the Warden
       of the defendant's facility, whichever is earlier, may reduce the term of imprisonment
       (and may impose a term of probation or supervised release with or without conditions
       that does not exceed the unserved portion of the original term of imprisonment), after
       considering the factors set forth in section 3553(a) to the extent that they are applicable,
       if it finds that . . . extraordinary and compelling reasons warrant such a reduction . . . and
       that such a reduction is consistent with applicable policy statements issued by the
       Sentencing Commission[.]

18 U.S.C. § 3582(c)(1)(A). Under this section, as modified by the First Step Act of 2018, Pub. L.

No.115-391, 132 Stat. 5239, I am free “to consider the full slate of extraordinary and compelling

reasons that an imprisoned person might bring before [the court] in motions for compassionate

release.” United States v. Brooker, 976 F.3d 228, 237 (2d Cir. 2020) (“Neither Application Note

1(D), nor anything else in the now-outdated version of Guideline § 1B1.13, limits the district

court’s discretion.”). In particular, because Ferguson—and not the BOP—brings this motion, I

am not limited by the Sentencing Commission’s policy statement applicable to Section

3582(c)(1)(A), see U.S.S.G. § 1B1.13, which the Second Circuit recognized as applying only to

motions for sentence reduction brought by the BOP. Brooker, 976 F.3d at 230 (“hold[ing] that

Application Note 1(D) does not apply to compassionate release motions brought directly to the

court by a defendant under the First Step Act . . .”; rather, this Guideline “only [applies] to those

motions that the BOP has made” under this Act). However, “[r]ehabilitation . . . alone shall not

be considered an extraordinary and compelling reason.” Brooker, 976 F.3d at 238 (citing 28 U.S.C.

§ 994(t)) (emphasis in original).

       Therefore, I may reduce Ferguson’s term of imprisonment after considering the Section

3553(a) factors if (1) he has fully exhausted his administrative remedies or 30 days have passed

from receipt by the Warden of his facility of his request for a sentence reduction, and (2) I find



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that “extraordinary and compelling reasons warrant” a reduction of his term of imprisonment.

          Ferguson has met the exhaustion requirement because the Warden at FCI Schuylkill denied

his request for release on October 08, 2020. ECF No. 52-1 at 2. As to the merits of Ferguson’s

motion, I find that, when all of the circumstances, including the Section 3553(a) factors, are

considered, he has not shown that a reduction of his term of imprisonment is warranted.

           Ferguson argues that he has extraordinary and compelling reasons to be released because

    he is at high risk for serious illness or death from COVID-19 due to his hypertension, prediabetes,

    and thyroid issues. ECF No. 50-1 at 1. Further, he contends that conditions at Schuylkill are

    placing him in further danger of contracting COVID-19 because of the amount of positive

    COVID-19 cases at the prison. Id. at 3. I address each of these conditions below after taking

    account of Ferguson’s age.

           Ferguson is currently 63 years old. ECF No. 50-1 at 1. According to the Centers for

    Disease Control and Prevention (“CDC”), “the risk for severe illness from COVID-19 increases

    with age, with older adults at highest risk.”2 Age-related risk increases on a sliding scale, and the

    risk of death for persons aged 50-64 years old is “400x” greater than those in the reference group

    (ages 5-17 years), and the risk of hospitalization is “25x” greater compared to the same reference

    group while the "greatest risk for severe illness or death from COVID-19 is among those aged 85

    or older.”3 Thus, as someone at the tail-end of the 50-64 age range, Ferguson faces a heightened

    risk of severe illness from contracting COVID-19.



2
  Centers for Disease Control and Prevention, Older Adults, https://www.cdc.gov/coronavirus/2019-ncov/need-
extra-precautions/older-adults.html (last visited March 23, 2021).
3
  Id. (individuals in the 40-49 year age range face a 15x greater risk of hospitalization and 130x greater risk of death
than individuals in the 5-17 year age range. Individuals in the 50-64 year age range face a 25x and 400x greater risk,
respectively, compared to the same 5-17 year age range. Individuals in the 65-74 age range face a 35x and 1100x
greater risk, respectively, compared to the same 5-17 year age range. Individuals in the 75-84 age range face a 55x
and 2800x greater risk, respectively, compared to the same 5-17 year age range and individuals above 85 years face
an 80x and 7900x greater risk, respectively, with the same comparison group).


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           Ferguson’s hypertension may also place him at a higher risk for developing serious

    complications should he contract COVID-19 while incarcerated. According to the CDC, having

    “hypertension (high blood pressure) . . . might increase [a person’s] risk of severe illness from

    COVID-19.”4 Still, the CDC treats hypertension as a tier two condition—one that might increase

    the risk from COVID-19.5 Ferguson’s medical records show that he has a history of adult-onset

    hypertension and a current hypertension diagnosis. See ECF No. 52 at 14, 32, 40. However, of

    the two blood pressure readings shown in the medical records he submitted (from August 14,

    2020, and September 28, 2020, respectively), one is normal, and the other shows hypertension,

    with the normal reading being the more recent one.6 Id. at 34. Moreover, Ferguson has been

    continually treated for his hypertension through medication. Id. at 32. Thus, while his risk may

    be elevated due to hypertension, the hypertension is currently well managed. See id. Still,

    Ferguson may face an increased risk of severe illness from COVID-19 due to his hypertension.

           With respect to his prediabetes, it is not clear that Ferguson faces any increased risk of

    severe illness from COVID-19 under the CDC Guidelines. While it is true that adults with Type

    2 diabetes mellitus are at an increased risk of severe illness if they contract COVID-19 and adults

    with Type 1 diabetes mellitus “might” face an increased risk of severe illness if they contract


4
  Centers for Disease Control and Prevention, People with Certain Medical Conditions,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html (last
visited March 23, 2021).
5
  Centers for Disease Control and Prevention, Evidence used to update the list of underlying medical conditions that
increase a person’s risk of severe illness from COVID-19, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
precautions/evidence-table.html (last visited March 23, 2021).
6
  Blood pressure measurements fall into four general categories:
         Normal blood pressure is below 120/80 mm Hg.
         Elevated blood pressure is a systolic pressure ranging from 120 to 129 mm Hg and a diastolic pressure
         below 80 mm Hg.
         Stage 1 hypertension is a systolic pressure ranging from 130 to 139 mm Hg or a diastolic pressure ranging
         from 80 to 89 mm Hg.
         Stage 2 hypertension is a systolic pressure of 140 mm Hg or higher or a diastolic pressure of 90 mm Hg or
         higher.
Mayo Clinic, High Blood Pressure (hypertension), https://www.mayoclinic.org/diseases-conditions/high-blood-
pressure/diagnosis-treatment/drc-20373417 (last visited March 23, 2021).


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    COVID-19, the CDC does not categorize “prediabetes” as a risk factor.7 The CDC states that

    “[a]n A1C below 5.7% is normal, between 5.7 and 6.4% indicates you have prediabetes, and 6.5%

    or higher indicates you have diabetes.”8 Ferguson is barely in the prediabetic range, with an A1C

    level of 5.8%. Id. at 49. Moreover, his medical records indicate that he has taken the proper

    precautions in his diet and exercise to mitigate his risk of developing diabetes, and there is no

    evidence that his confinement is restricting him from receiving the proper diet or exercise that he

    requires. Id. at 5, 7. Therefore, it is unlikely that his prediabetes places him at a higher risk of

    severe illness if he contracts COVID-19.

          Next, Ferguson notes that he has thyroid issues (hypothyroidism) that may increase his risk

of severe illness if he were to contract COVID-19. ECF No. 50-1 at 1. The CDC does not list any

thyroid diseases as a significant risk factor that would (or might) increase the likelihood of

developing a severe illness from COVID-19.9 In any event, Ferguson takes medication for his

hypothyroidism. Id. at 30. Ferguson also provides no evidence to show that his hypothyroidism

increases his risk of developing a severe illness if he contracted COVID-19. As a result, I find that

he likely does not face any increased risk of severe illness from COVID-19 based on his

hypothyroidism.

          Finally, Ferguson contends that he faces an increased risk of contracting COVID-19 and

severe illness due to the conditions imposed on him at Schuylkill. Id. at 3. There are approximately

1,096 inmates at FCI Schuylkill.10 Out of the 1,099 inmates, there are currently seven inmates who

are positive for COVID-19.11 Additionally, ten staff members are currently positive for COVID-


7
  Centers for Disease Control and Prevention, supra note 4.
8
  Centers for Disease Control and Prevention, All About Your A1C,
https://www.cdc.gov/diabetes/managing/managing-blood-sugar/a1c.html (last visited March 23, 2021).
9
  Centers for Disease Control and Prevention, supra note 4.
10
   Federal Bureau of Prisons, FCI Schuylkill, https://www.bop.gov/locations/institutions/sch/ (last visited March 23,
2021).
11
   Federal Bureau of Prisons, COVID-19 Coronavirus, https://www.bop.gov/coronavirus/index.jsp (last visited


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19.12 These numbers indicate an overall decrease in the number of COVID-19 cases from the

beginning of the year when Schuylkill reported 204 inmates testing positive. ECF No. 50-1 at 3. It

is unclear precisely what risk is imposed on Ferguson from those inmates and staff who have tested

positive, but it is clear that his risk of contracting COVID-19 is heightened by being in close

quarters to other inmates with COVID-19.13 Nonetheless, , this risk is relatively small considering

the decrease in positive cases of COVID-19 in FCI Schuylkill, continued measures put in place by

the BOP to mitigate risks, and the fact that Schuylkill has now fully vaccinated approximately one-

fifth of its inmate population.14

        While Ferguson may face an increased risk from COVID-19 under the CDC guidelines due

to his age, high blood pressure, other medical conditions,15 and confinement, his risk is not further

heightened by serious risk factors that the CDC has recognized, such as obesity, severe asthma,

and the like. In any event, I find that the conditions Ferguson presented are insufficient to warrant

a reduction in his term of imprisonment when the factors in 18 U.S.C. § 3553(a) are taken into

account, as they must be under Section 3582(c)(1)(A).

          Section 3553(a) provides that the sentence imposed should reflect the seriousness of the

 offense, promote respect for the law, provide just punishment, afford adequate deterrence, protect

 the public, and provide the defendant with needed medical care in the most effective manner. See

 18 U.S.C. 3553(a)(2)(A-D). Ferguson committed a serious offense involving a long-running


March 23, 2021).
12
   Id.
13
   Centers for Disease Control and Prevention, For People Living in Prisons and Jails,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/living-prisons-jails.html (last updated March
05, 2021) (discussing how living in prison or jail increases the risk of contracting COVID-19 due to shared space,
limited social distancing options, and the influx of staff and visitors who may be positive but unaware).
14
   Federal Bureau of Prisons, BOP Modified Operations, https://www.bop.gov/coronavirus/covid19_status.jsp (last
visited March 23, 2021); see also https://www.bop.gov/coronavirus/ (last visited on March 23, 2021)(showing that
213 inmates at FCI Schuylkill have been fully vaccinated).
15
   The CDC guidelines state that with respect to people with multiple underlying conditions: "The more underlying
medical conditions someone has, the greater their risk is for severe illness from COVID-19.” Centers for Disease
Control and Prevention, People with Certain Medical Conditions, supra note 4.


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 scheme to shortchange his many employees in the compensation due to them. ECF No. 54 at 6.

 While none suffered serious financial harm, a large number suffered significant harm while

 loyally working for his company for years. Id. Based on his release date as reflected on the BOP

 website, Ferguson has served less than half of the sentence of imprisonment imposed by the

 Court, which was already a substantial downward variance from the Guidelines range. ECF No.

 45 at 1. It would unacceptably depreciate the seriousness of the offense to reduce his term of

 imprisonment to time served at this point. See U.S. v. Sherlock, 17-CR-597 (RJS), 2020 WL

 7263520, at *3 (S.D.N.Y. Dec. 10, 2020) (stating that “by releasing [Defendant] early, the Court

 would be undermining the goals of that already lenient sentence.”). While the Court recognizes

 that the time Ferguson is serving is harsher than expected due to the COVID-19 pandemic, that

 does not justify the very substantial reduction he seeks in his term of imprisonment. As a result,

 after considering the facts here in light of the Section 3553(a) factors, I cannot find the requested

 reduction in Ferguson’s term of imprisonment is warranted.

       I do not take lightly the danger that COVID-19 poses to inmates, especially those who are

medically vulnerable. Nonetheless, I find that, when the Section 3553(a) factors are accounted for

in this case, the risk to Ferguson’s health posed by COVID-19 does not warrant ending his term

of imprisonment. I, therefore, must deny this motion.

       For the foregoing reasons, Ferguson’s motion to reduce sentence (ECF No. 50) is DENIED.

Due to Ferguson’s age and medical profile, however, I request that the Warden at Schuylkill

prioritize him for the receipt of a vaccine, to the extent he has not already received one. I will rely

on defense counsel to communicate my request to the Warden.



                                                               IT IS SO ORDERED.




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                                                            /s/
                                                 Michael P. Shea, U.S.D.J.


Dated:       Hartford, Connecticut
             March 23, 2021




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